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                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                CRIMINAL

VERSUS                                                  NO. 08-2-JVP-DLD

MARVIN HUDSON


                                       ORDER

      Considering the foregoing Motion to Adopt and Conform Applicable Motion of Co-

Defendants and to File Additional Motions as to Marvin Hudson (rec. doc. no. 54), in the

above-captioned matter and the stated reasons, which the court finds confusing;

      IT IS HEREBY ORDERED that the Motion to Adopt and Conform Applicable Motion

of Co-Defendants and to File Additional Motions is GRANTED to the extent that the

defendant is deemed to adopt the joint motion and proposed order for further discovery

deadlines and substantive motion deadlines to be filed by April 23, 2008.    Should the

defendant choose to adopt any future motion by a co-defendant, he may move to do so,

once the co-defendant’s motion has been filed.

      Signed in Baton Rouge, Louisiana, on March 18, 2008.




                                         MAGISTRATE JUDGE DOCIA L. DALBY
